Case 1:20-cv-01905-JEJ Document 19 Filed 10/19/20 Page 1of1

UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF PENNSYLVANIA

 

Public Interest Legal Foundation,

Plaintiff,

Vv.

Kathy Boockvar, Secretary of the
Commonwealth of Pennsylvania, inher | Civ. No. 1:20-cv-01905-JEJ

official capacity.

 

 

Defendant.
ORDER
ANDNOW, this_I4** __dayof___ lobe 2020, upon

 

consideration of the Public Interest Legal Foundation’s Motion for
Leave to File Exhibits Under Seal, it is hereby ORDERED that the
Motion is GRANTED. Public Interest Legal Foundation is given leave
to file Exhibit 4 and Exhibit 5 to the Complaint for Declaratory and
Injunctive Relief UNDER SEAL.

BY THE COURT:
XO&@ oo. SL

() () ,U.S.D.J.

 
